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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                       :
                                                   :
                                                   :
         v.                                        :        Case No. 22-cr-144-GMH
                                                   :
    RICHARD GUSTAVE OLSON, JR.                     :
                                                   :
                                                   :
                          Defendant.               :


                                                 ORDER
         The Probation Department’s pre-sentence report was filed in this case on December 30,

2022. ECF No. 32. After a series of requests for and grants of extensions, the parties filed their

sentencing memoranda on February 6, 2023 (Defendant) and February 7, 2023 (the government). 1

ECF Nos. 38–39. At Defendant’s request, the Court allowed him until March 7, 2023, to file a

response to the government’s sentencing memorandum. ECF Nos. 40–42; Minute Order (Feb. 21,

2023). Having reviewed that submission, the Court finds it would benefit from a reply by the

government to the arguments raised therein, including:

         (1) Defendant’s assertion that in its sentencing memorandum the government “appears

              to withdraw” any contention that Defendant received “gratuities” as defined in 18

              U.S.C. § 201(c)(1)(B). ECF No. 43 at 1–2; see also ECF No. 39 at 18 (“In this case,

              the government does not believe that there is a sufficient nexus between (1) the

              defendant’s agreement to advocate to Congress to support military sales to Pakistan

              or the defendant’s provision of non-public talking points to Person 1 and (2) Person

              1’s provision of $25,000 to the defendant’s girlfriend or Person 1’s facilitation of the


1
 Both sentencing memoranda were due on the same date: February 6, 2023. Minute Order (Jan. 16, 2023). The
government filed its memorandum in the very early morning hours of February 7, 2023.
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          Foreign Company 1 job offer for the defendant to support a gratuities charge.”). The

          Court agrees with Defendant that the scope of that concession—if it is, indeed, a

          concession—is ambiguous and would benefit from clarification. Relatedly, there is

          some ambiguity in the government’s position on the pre-sentence report’s application

          of the “cross-reference to U.S.S.G. § 2C1.2.” ECF No. 39 at 19; ECF No. 43 at 2.

       (2) Defendant’s contention that the government’s sentencing memorandum improperly

          relies on certain information covered by Defendant’s cooperation agreement, in

          violation of U.S.S.G. § 1B1.8. ECF No. 43 at 9–10.

       (3) Defendant’s argument based on the Ninth Circuit’s recent decision in United States v.

          Farias-Contreras, __ F.4th __, 2023 WL 2004603 (9th Cir. 2023), that the

          government has, in its sentencing memorandum, implicitly breached the plea

          agreement in this case. ECF No. 43 at 20–22.

       Accordingly, it is hereby

       ORDERED that the government shall file a response to Defendant’s “Reply to the

Government’s Sentencing Memorandum” on or before March 22, 2023.



       SO ORDERED.
                                                               Digitally signed by
                                                               G. Michael Harvey
                                                               Date: 2023.03.08
                                                               14:58:22 -05'00'
                                           The Honorable G. Michael Harvey
                                           United States Magistrate Judge




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